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                 !
                 !
             EXHIBIT!P!
!             !
          CHAPTER 4-12. - REG STRAT ON OF CRED T SERV CES ORGAN ZAT ONS AND CRED T ACCESS BUS NESSES.
          ART CLE 1. - GENERAL PROV S ONS.
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                                                           4-12-1 - DEF N T ONS.
                                                                    n hi chap er:
                                                                         (A) CERT F CATE OF REG STRAT ON mean a cer ifica e of regi ra ion i               ed b   he direc or nder hi chap er o he o ner or
                                                                             opera or of a credi     er ice organi a ion or a credi acce       b   ine .
                                                                         (B) CONSUMER mean an indi id al           ho i   olici ed o p rcha e or       ho p rcha e      he er ice of a credi     er ice organi a ion or a
                                                                             credi acce    b   ine .
                                                                         (C) CRED T ACCESS BUS NESS mean a credi            er ice organi a ion ha ob ain for a con             mer or a i      a con    mer in ob aining an
                                                                             e en ion of con       mer credi in he form of a deferred pre en men ran ac ion or a mo or ehicle i le loan.
                                                                         (D) CRED T ACCESS BUS NESS FEES mean he fee charged b a credi acce                   b   ine    p r     an o Sec ion 393.602, Te a Finance
                                                                             Code.
                                                                          (E) CRED T SERV CES ORGAN ZAT ON mean a per on             ho ob ain an e en ion of con              mer credi for a con      mer a de cribed in
                                                                             Sec ion 393.001(3)(B), Te a Finance Code, or a per on       ho pro ide ad ice or a i ance o a con                 mer   i h regard o ob aining
                                                                             an e en ion of con      mer credi .
                                                                          (F) DEFERRED PRESENTMENT TRANSACT ON ha              he ame meaning a defined in Sec ion 393.601 of he Te a Finance Code.
                                                                         (G) D RECTOR mean , for p rpo e of hi chap er, he direc or of he depar men de igna ed b                       he Ci    Manager o enforce and
                                                                             admini er hi chap er.
                                                                         (H) EXTENS ON OF CONSUMER CRED T ha              he ame meaning a defined in Sec ion 393.001 of he Te a Finance Code.
                                                                          ( ) EXTENS ON OF CONSUMER CRED T TRANSACT ON mean                    he en ire   of he agreemen         made b a con       mer o ob ain an
                                                                             e en ion of con       mer credi , and incl de an loan agreemen be             een he lender and he con          mer, and an fee agreemen
                                                                             be     een he credi    er ice organi a ion or credi acce      b     ine   and he con       mer.
                                                                          (J) MOTOR VEH CLE T TLE LOAN ha          he ame meaning a defined in Sec ion 393.601 of he Te a Finance Code.
                                                                             (K) OWNER mean , for he p rpo e of hi chap er, an per on                 ho direc l or indirec l o n a credi      er ice organi a ion or a credi
                                                                                 b   ine . For p blicl     raded companie , he erm mean an per on               ho direc l or indirec l o n or con rol 10% or more of he
                                                                                 o      anding hare of      ock in he credi       er ice organi a ion or credi acce    b    ine .
                                                                             (L) PERSON mean , for p rpo e of hi chap er, an indi id al, corpora ion, organi a ion, par ner hip, a ocia ion, financial
                                                                                 in i    ion, or an o her legal en i , b      doe no incl de he Ci .
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                                                                            (M) STATE L CENSE mean a licen e o opera e a credi acce               b   ine   i   ed b   he Te a Con    mer Credi Commi ioner nder
                                                                                 Chap er 393 of he Te a Finance Code.
                                                                            (N) VALUABLE CONS DERAT ON mean             he con idera ion de cribed in Sec ion 393.001(3), Te a Finance Code. Val able con idera ion
                                                                                 incl de an immedia e pa men and an f                re pa men    in e change for an e en ion of con     mer credi a de cribed in
                                                                                 Sec ion 393.001(3)(B), Te a Finance Code, or ad ice or a i ance             i h regard o an e en ion of con     mer credi a de cribed in
                                                                                 Sec ion 393.001(3)(B), Te a Finance Code.
                                                                So rce: Ord. 20110818-075;Ord. No. 20200521-028, P . 2, 3, 6-1-20;Ord. No. 20200730-004, P . 2, 3, 8-10-20.
                                                           4-12-2 - PURPOSE.
                                                                      The p rpo e of hi chap er i     o pro ec he     elfare of he ci i en of he Ci         b moni oring and reg la ing credi        er ice organi a ion and
                                                                credi acce      b    ine e   o red ce he harm ca      ed b ab        i e and preda or lending prac ice .
                                                                So rce: Ord. 20110818-075;Ord. No. 20200521-028, P . 2, 4, 6-1-20;Ord. No. 20200730-004, P . 4, 8-10-20.
                                                                    4-12-3 hro gh 4-12-9 - (RESERVED).
          ART CLE 2. - REG STRAT ON OF CRED T ACCESS BUS NESSES.
                                                           4-12-10 - REG STRAT ON REQU RED.
                                                                         (A) A per on ma no opera e or cond c b            ine     a a credi   er ice organi a ion or a a credi acce     b     ine      i ho   a alid
                                                                             cer ifica e of regi ra ion.
                                                                         (B) A cer ifica e of regi ra ion i req ired for each credi        er ice organi a ion or each credi acce    b   ine    a each loca ion     here he
                                                                             credi   er ice organi a ion or credi acce        b     ine   opera e or cond c     b   ine .
                                                                         (C) A per on opera ing or cond c ing a b                ine   a bo h a credi        er ice organi a ion and a credi acce                   b    ine     a he ame loca ion
                                                                             ma ob ain one cer ifica e of regi ra ion per loca ion.
                                                                So rce: Ord. 20110818-075;Ord. No. 20200521-028, P . 4, 6-1-20;Ord. No. 20200730-004, P . 4, 8-10-20.
                                                           4-12-11 - REG STRAT ON APPL CAT ON.
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                                                                         (A) To ob ain a cer ifica e of regi ra ion for a credi                 er ice organi a ion or a credi acce               b   ine , a per on m             bmi an
                                                                             applica ion on a form pro ided for ha p rpo e o he direc or. The applica ion m                                     con ain he follo ing:
                                                                             (1)    he b    ine     or rade name,         ree addre , mailing addre , fac imile n mber, and elephone n mber of he credi                                   er ice
                                                                                    organi a ion or credi acce          b    ine ;
                                                                             (2)    he name ,       ree addre e , mailing addre e , and elephone n mber of all o ner of he credi                                        er ice organi a ion or he
                                                                                    credi acce      b      ine    and o her per on         i h a financial in ere         in he credi       er ice organi a ion or credi acce             b    ine , and
                                                                                    he na re and e en of each per on' in ere                      in he credi    er ice organi a ion or credi acce              b        ine ;
                                                                             (3) a cop of a c rren , alid             a e licen e held b         he credi acce       b        ine     p r   an o Sec ion 393.603, Te a Finance Code;
                                                                             (4) a cop of an ne pired, alid                 a e regi ra ion        a emen        bmi ed b            he credi   er ice organi a ion p r          an o Sec ion
                                                                                    393.101, Te a Finance Code, incl ding an                   pda e filed a req ired b Sec ion 393.102, Te a Finance Code;
                                                                             (5) a cop of a c rren , alid cer ifica e of occ panc                     ho ing ha he credi               er ice organi a ion or he credi acce           b       ine
                                                                                    complie       i h Ci    Code Ti le 25 (Land De elopmen Code);
                                                                             (6) a non-ref ndable applica ion fee ha i                 e b       epara e ordinance; and
                                                                             (7) if a p blicl      raded compan , he name of he regi ered agen for er ice of proce                                in Te a .
                                                                         (B) A credi       er ice organi a ion or credi acce               b    ine    hall no if     he direc or in         ri ing a lea   10 da       before making an ma erial
                                                                             change in i      b     ine     opera ion . A ma erial change incl de change                      o he informa ion con ained in he applica ion for a cer ifica e
                                                                             of regi ra ion, an change of addre , b                  ine       o ner hip or eq i          in ere ,      ore loca ion,   pe of loan prod c          offered, opera ing
                                                                               a      , bankr p c filing , clo         re of a   ore, and an change in he                 a         of he   a e licen e held or he        a e regi ra ion       a emen
                                                                                   bmi ed b       he credi       er ice organi a ion or credi acce           b      ine        ha ha applied for or ha c rren l hold a cer ifica e of
                                                                             regi ra ion.
                                                                So rce: Ord. 20110818-075;Ord. No. 20151217-073, P . 1, 12-28-15;Ord. No. 20200521-028, P . 2, 4, 6-1-20;Ord. No. 20200730-004, P . 2, 4, 8-
                                                                10-20.
                                                           4-12-12 - SSUANCE AND D SPLAY OF CERT F CATE OF REG STRAT ON; PRESENTMENT UPON REQUEST.
                                                                       (A) The direc or hall i          e o a credi    er ice organi a ion or a credi acce     b     ine   a cer ifica e of regi ra ion for each loca ion pon
                                                                            recei ing a comple ed applica ion nder Sec ion 4-12-11 (Regi ra ion Applica ion).
                                                                       (B) A cer ifica e of regi ra ion i        ed nder hi          ec ion m   be con pic o   l di pla ed o he p blic in he credi       er ice organi a ion
                                                                            or he credi acce        b    ine . The cer ifica e of regi ra ion m       be pre en ed pon req e         o he direc or or he direc or' de ignee
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                                                                            for e amina ion.
                                                                So rce: Ord. 20110818-075;Ord. No. 20200521-028, P . 2, 4, 6-1-20;Ord. No. 20200730-004, P . 2, 4, 8-10-20.
                                                           4-12-13 - EXP RAT ON AND RENEWAL OF CERT F CATE OF REG STRAT ON.
                                                                       (A) A cer ifica e of regi ra ion e pire on he earlier of:
                                                                           (1) one ear af er he da e of i             ance; or
                                                                           (2) if he cer ifica e of regi ra ion i held b a credi acce            b   ine , on he da e of e pira ion, re oca ion, or ermina ion of he
                                                                                 credi acce    b    ine '      a e licen e.
                                                                       (B) A cer ifica e of regi ra ion ma be rene ed b making applica ion in accordance                   i h Sec ion 4-12-11 (Regi ra ion Applica ion). A
                                                                            credi    er ice organi a ion or credi acce           b    ine   hall appl for rene al a lea     30 da    before he regi ra ion e pire .
                                                                So rce: Ord. 20110818-075;Ord. No. 20200521-028, P . 4, 6-1-20;Ord. No. 20200730-004, P . 4, 8-10-20.
                                                           4-12-14 - NONTRANSFERABLE.
                                                                    A cer ifica e of regi ra ion for a credi      er ice organi a ion or a credi acce      b   ine     i no ran ferable.
                                                                So rce: Ord. 20110818-075;Ord. No. 20200521-028, P . 4, 6-1-20;Ord. No. 20200730-004, P . 4, 8-10-20.
                                                           4-12-15 - REVOCAT ON OF CERT F CATE OF REG STRAT ON.
                                                                       (A) The direc or ma re oke a cer ifica e of regi ra ion if he direc or de ermine               ha a per on:
                                                                           (1) made a fal e        a emen , in    ri ing or orall , rela ed o an applica ion for a cer ifica e of regi ra ion;
                                                                           (2)      ed a de ice,    b erf ge, or pre en e o e ade he req iremen            of hi chap er; or
                                                                           (3) engaged in erio           or repea ed iola ion of hi chap er.
                                                                         (B) The direc or m               gi e no ice of he re oca ion o he credi                    er ice organi a ion or he credi acce           b   ine    b reg lar mail and b ce
                                                                                mail, re rn receip req e ed, a he addre                           on he applica ion for a cer ifica e of regi ra ion. f he cer ified le er i re rned a                   nde
                                                                                 he direc or m            po    he no ice of re oca ion on he fron door of he loca ion of he credi                           er ice organi a ion or he credi acce             b
                                                                                 ha i    he       bjec of he re oca ion.
                                                                         (C) No la er han he 10                h da   af er he credi            er ice organi a ion or he credi acce             b   ine     recei e no ice of he re oca ion b           he
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                                                                                direc or, he credi         er ice organi a ion or he credi acce                      b    ine    ma file a no ice of appeal      i h he direc or. The no ice of
                                                                                appeal m          be in    ri ing, de cribe he deci ion being appealed, and                      a e he rea on       h     he re oca ion ho ld be re er ed. Fail re
                                                                                 o imel file he no ice of appeal re                  l       in he re oca ion becoming final.
                                                                         (D)     f a credi     er ice organi a ion or a credi acce                    b   ine       imel file a no ice of appeal nder hi           ec ion, he re oca ion i        a ed.
                                                                         (E) The ci      manager or he ci             manager' de ignee hall ac a a hearing officer and hear he appeal. The Te a R le of E idence do no
                                                                                appl a a hearing nder hi                   ec ion.
                                                                         (F) The hearing officer hall hold he hearing no la er han he 10                                 h da   af er he da e he no ice of he appeal i filed and hall render a
                                                                                  ri en deci ion no la er han 30 da                      af er he hearing.
                                                                         (G) The hearing officer hall make a deci ion ba ed on he preponderance of he e idence                                           bmi ed and ma affirm, re er e, or modif
                                                                                 he ac ion of he direc or.
                                                                         (H) The deci ion of he hearing officer i final.
                                                                So rce: Ord. No. 20151217-073, P . 2, 12-28-15 ; Ord. No. 20200521-028 , P . 2, 4, 6-1-20; Ord. No. 20200730-004 , P . 2, 4, 8-10-20.
                                                                    4-12-16 hro gh 4-12-19 - (RESERVED).
          ART CLE 3. - M SCELLANEOUS REQU REMENTS FOR CRED T SERV CES ORGAN ZAT ONS AND CRED T ACCESS BUS NESSES.
                                                                         F        e :
                                                                         --- (1) ---
                                                                         Edi     ' n e       O d. N . 20200521-028 , P . 5, effec i e J         e 1, 2020, e ea ed he f     e A . 3,   4-12-20   4-12-25, a d e ac ed a e   A .3a   e      he ei . The
                                                                         f     e A . 3 e ai ed          i ce a e       e    ie e         f   c edi acce   b   i e   e a d de i ed f    O d. 20110818-075; O d. N . 20151217-073, P . 3   6, 12-28-15 ;
                                                                         O d. N . 20200521-028 , P . 2, 6-1-20.
                                                           4-12-20 - MA NTENANCE OF RECORDS.
                                                                      (A) A credi      er ice organi a ion and a credi acce          b    ine       hall main ain a comple e e of record of all e en ion of con                      mer
                                                                          credi ran ac ion :
                                                                          (1)   ha he credi        er ice organi a ion or credi acce            b    ine    arranged or ob ained for a con            mer; and
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                                                                          (2) on       hich he credi      er ice organi a ion or credi acce           b     ine    pro ided ad ice or a i ance o a con             mer.
                                                                      (B) A comple e e of record m                 incl de he follo ing informa ion:
                                                                          (1)   he name and addre           of he con     mer;
                                                                          (2)   he principal amo n of ca h ac all ad anced;
                                                                          (3)   he fee charged o arrange or ob ain an e en ion of con                      mer credi ;
                                                                          (4)   he fee charged o ad i e or a i            a con   mer in ob aining an e en ion of con                 mer credi ;
                                                                          (5)   he doc men a ion           ed o e abli h a con      mer' income nder Sec ion 4-12-22 (Re ric ion on E en ion of Con                           mer Credi
                                                                                Tran ac ion );
                                                                          (6) a cop of each         ri en agreemen , be       een he credi          er ice organi a ion or credi acce             b   ine   and a con     mer, e idencing
                                                                                an e en ion of con         mer credi incl ding, b        no limi ed o, an refinancing or rene al agreemen                    i h he con     mer;
                                                                          (7)       he her an par of he e en ion of con           mer credi ran ac ion ha been refinanced or rene ed and, if an par of he
                                                                                e en ion of con          mer credi ran ac ion ha been refinanced or rene ed, he n mber of refinance or rene al made; and
                                                                          (8) a cop of each         ri en agreemen be        een he lender and con                mer.
                                                                      (C) A credi acce         b   ine     hall al o main ain, and file     i h he direc or, copie , in a forma pre cribed b                he direc or, of all ann al
                                                                          repor , q ar erl repor , and all re i ion and pda e                   o ho e repor             filed   i h he Te a Con      mer Credi Commi ioner a
                                                                          req ired b Chap er 393, Te a Finance Code. The repor , re i ion , and pda e m                                 be   bmi ed o he Ci           i hin fi e b    ine
                                                                          da        of being   bmi ed o he Te a Con           mer Credi Commi ioner.
                                                                      (D) The record req ired o be main ained nder hi                    ec ion:
                                                                          (1) m         be re ained for a lea       hree ear ; and
                                                                          (2)   o he e en no filed           i h he direc or, made a ailable for in pec ion and cop ing b                 he Ci       pon req e    d ring      al and
                                                                                c     omar b       ine    ho r .
                                                                So rce: Ord. No. 20200521-028 , P . 5, 6-1-20; Ord. No. 20200730-004 , P . 5, 8-10-20.
                                                           4-12-21 - CONSUMER R GHT TO COPY OF AGREEMENT.
                                                                      (A) A credi    er ice organi a ion and a credi acce        b     ine      hall gi e o he con        mer, pon req e , a prin ed cop of a igned
                                                                          con rac , and an o her doc men he credi            er ice organi a ion or credi acce             b     ine     req ire a con     mer o ign or
                                                                          ackno ledge reading.
                                                                      (B) All con rac    and o her doc men      ha a credi       er ice organi a ion or credi acce              b   ine     req ire   he con       mer o ign or
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                                                                          ackno ledge reading hall be in he lang age in           hich he con rac           a nego ia ed and e plained o he con               mer.
                                                                So rce: Ord. No. 20200521-028 , P . 5, 6-1-20; Ord. No. 20200730-004 , P . 5, 8-10-20.
                                                           4-12-22 - RESTR CT ONS ON EXTENS ONS OF CONSUMER CRED T TRANSACT ONS.
                                                                      (A) A credi    er ice organi a ion or credi acce       b   ine         hall no ob ain for a con      mer, or ad i e or a i         a con     mer in ob aining, a
                                                                          ca h ad ance, nder an e en ion of con           mer credi ran ac ion, ha e ceed more han 20 percen of he con                              mer' gro
                                                                          mon hl income.
                                                                      (B) A credi    er ice organi a ion or credi acce       b   ine         hall no ob ain for a con      mer, or ad i e or a i         a con     mer in ob aining, a
                                                                          ca h ad ance in he form of a mo or ehicle i le loan ha e ceed                    he le er of:
                                                                          (1)   hree percen of he con      mer' gro       ann al income; or
                                                                          (2) 70 percen of he re ail al e of he mo or ehicle.
                                                                      (C) A credi    er ice organi a ion or credi acce       b   ine         hall   e a pa check, bank         a emen , RS Form W-2 from he pre io              a
                                                                           ear, he pre io       ear'   a re rn, a igned le er from an emplo er, or o her imilar doc men a ion e abli hing income o
                                                                          de ermine a con      mer' income.
                                                                      (D) A credi    er ice organi a ion or credi acce       b   ine     ha ob ain for a con          mer or ad i e or a i            a con       mer in ob aining an
                                                                          e en ion of con      mer credi   hall b    he erm of he e en ion of con                mer credi ran ac ion:
                                                                          (1) req ire pa men of he o al amo n of he e en ion of con                       mer credi ran ac ion, incl ding an principal, in ere , fee ,
                                                                                 al able con idera ion, credi acce    b    ine    fee , and an o her charge or co                , in fo r or fe er pa men ; and
                                                                          (2) red ce b a lea      25 percen per pa men he o al amo n of he e en ion of con                             mer credi ran ac ion, incl ding an
                                                                                principal, in ere , fee , al able con idera ion, credi acce           b    ine   fee , and an o her charge or co              .
                                                                      (E) A credi    er ice organi a ion or credi acce       b   ine         hall no refinance or rene         an par of an e en ion of con            mer credi
                                                                           ran ac ion, nle      he o al amo n of he e en ion of con                 mer credi ran ac ion, incl ding an principal, in ere , fee , al able
                                                                          con idera ion, credi acce       b   ine     fee , and an o her charge or co           , i d e in a ingle pa men .
                                                                      (F) A credi     er ice organi a ion or credi acce         b   ine     ha refinance or rene            an e en ion of con      mer credi ran ac ion nder
                                                                          S b ec ion (E):
                                                                          (1) ma no refinance or rene          he e en ion of con          mer credi ran ac ion more han hree ime ; and
                                                                          (2)   he minim m pa men amo n d e o refinance or rene                       ch e en ion of con         mer credi ran ac ion m          red ce b a lea
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                                                                                25 percen he o al amo n of he e en ion of con                   mer credi ran ac ion, incl ding an principal, in ere , fee , al able
                                                                                con idera ion, credi acce     b     ine    fee , and an o her charge or co            ,     ch ha he o al amo n o ed b           he con       mer i
                                                                                paid in f ll af er a ma im m of hree refinance or rene al .
                                                                      (G) For p rpo e of hi        ec ion, an e en ion of con           mer credi ran ac ion ha i made o a con               mer    i hin e en b    ine   da
                                                                          af er a pre io     e en ion of con        mer credi ran ac ion ha been paid b              he con     mer con i      e a refinancing or rene al.
                                                                So rce: Ord. No. 20200521-028 , P . 5, 6-1-20; Ord. No. 20200730-004 , P . 5, 8-10-20.
                                                           4-12-23 - REFERRAL TO CONSUMER CRED T COUNSEL NG.
                                                                      (A) A credi     er ice organi a ion and a credi acce          b     ine    hall pro ide a li    of non-profi agencie       ha pro ide financial ed ca ion,
                                                                           raining program , or ca h a i ance program               o each con      mer   ho eek          o ob ain or eek ad ice or a i ance on ob aining an
                                                                          e en ion of con        mer credi . The li   m       be on a form appro ed b        he direc or and con ain informa ion regarding e en ion of
                                                                          con      mer credi .
                                                                      (B) A credi     er ice organi a ion and a credi acce          b     ine   m     con pic o      l di pla a po er, or o her imilar doc men , ha
                                                                          con ain informa ion regarding e en ion of con                 mer credi , a pre cribed b          he direc or. The organi a ion or b     ine    m
                                                                          di pla     he po er or imilar doc men            o ha i i clearl       i ible o each con        mer   ho en er    he facili .
                                                                So rce: Ord. No. 20200521-028 , P . 5, 6-1-20; Ord. No. 20200730-004 , P . 5, 8-10-20.
                                                           4-12-24 - RESTR CT ONS ON NON-DEFERRED PRESENTMENT OR MOTOR VEH CLE T TLE LOAN EXTENS ONS OF CONSUMER CRED T.
                                                                      (A) Thi    ec ion applie     o an e en ion of con        mer credi ran ac ion ha a credi              er ice organi a ion ob ain or arrange for a
                                                                          con      mer or pro ide ad ice or a i ance o ob ain and ha i no a deferred pre en men ran ac ion or a mo or ehicle i le loan.
                                                                      (B) The      m of all al able con idera ion, fee , or o her charge o ed b              he con        mer o he credi     er ice organi a ion ma no
                                                                          e ceed 0.1 percen per da of he o                anding balance of he e en ion of con             mer credi .
                                                                 So rce: Ord. No. 20200521-028 , P . 5, 6-1-20; Ord. No. 20200730-004 , P . 5, 8-10-20.
                                                           4-12-25 - COMPL ANCE REQU RED.
                                                                     A per on ma no kno ingl       e a de ice,   b erf ge, or pre en e o e ade he applica ion of hi chap er.
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                                                                 So rce: Ord. No. 20200521-028 , P . 5, 6-1-20; Ord. No. 20200730-004 , P . 5, 8-10-20.
                                                           4-12-26 - OFFENSE AND PENALTY.
                                                                       (A) A per on    ho iola e an     ec ion of hi chap er commi     a Cla   C mi demeanor p ni hable b a fine no o e ceed $500.
                                                                       (B) E cep a pro ided in S b ec ion (C), each da      ha a iola ion occ r i a epara e offen e.
                                                                       (C) Each e en ion of con     mer credi ran ac ion i a epara e offen e if he e en ion of con     mer credi ran ac ion iola e :
                                                                           (1) Sec ion 4-12-22 (Re ric ion on E en ion of Con       mer Credi Tran ac ion ); or
                                                                           (2) Sec ion 4-12-24 (Re ric ion on Non-Deferred Pre en men or Mo or Vehicle Ti le Loan E en ion of Con       mer Credi ).
                                                                       (D) The penal ie pro ided for in S b ec ion (A) are in addi ion o an o her remedie a ailable nder Ci    ordinance or   a e la .
                                                                        (E) E cep for an offen e nder Sec ion 4-12-25 (Compliance Req ired), a c lpable men al    a e i no req ired for a iola ion of hi
                                                                           chap er and need no be pro ed.
                                                                 So rce: Ord. No. 20200521-028 , P . 5, 6-1-20; Ord. No. 20200730-004 , P . 5, 8-10-20.
